Case 1:19-cr-20450-RNS Document 102 Entered on FLSD Docket 06/02/2022 Page 1 of 11
              USCA11 Case: 21-11083 Date Filed: 06/02/2022 Page: 1 of 1


                            UNITED STATES COURT OF APPEALS
                               FOR THE ELEVENTH CIRCUIT
                               ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                             56 Forsyth Street, N.W.
                                             Atlanta, Georgia 30303

   David J. Smith                                                                     For rules and forms visit
   Clerk of Court                                                                     www.ca11.uscourts.gov


                                            June 02, 2022
                                                                                                    AP
   Clerk - Southern District of Florida
   U.S. District Court
   400 N MIAMI AVE                                                                  Jun 2, 2022
   MIAMI, FL 33128-1810

   Appeal Number: 21-11083-JJ
                                                                                                        MIAMI

   Case Style: USA v. Alex Saab Moran
   District Court Docket No: 1:19-cr-20450-RNS-1

   A copy of this letter, and the judgment form if noted above, but not a copy of the court's
   decision, is also being forwarded to counsel and pro se parties. A copy of the court's decision
   was previously forwarded to counsel and pro se parties on the date it was issued.

   The enclosed copy of the judgment is hereby issued as mandate of the court. The court's opinion
   was previously provided on the date of issuance.

   Sincerely,

   DAVID J. SMITH, Clerk of Court

   Reply to: Lois Tunstall
   Phone #: (404) 335-6191

   Enclosure(s)
                                                                       MDT-1 Letter Issuing Mandate
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                                             In the
                        United States Court of Appeals
                                   For the Eleventh Circuit
                                    ____________________

                                          No. 21-11083
                                    ____________________

              UNITED STATES OF AMERICA,
                                                               Plaintiff-Appellee,
              versus
              ALEX NAIN SAAB MORAN,


                                                            Defendant-Appellant.


                                    ____________________

                           Appeal from the United States District Court
                               for the Southern District of Florida
                             D.C. Docket No. 1:19-cr-20450-RNS-1
                                    ____________________

                                          JUDGMENT




   ISSUED AS MANDATE: 06/02/2022
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              It is hereby ordered, adjudged, and decreed that the opinion is-
              sued on this date in this appeal is entered as the judgment of this
              Court.
                                       Entered: May 2, 2022
                           For the Court: DAVID J. SMITH, Clerk of Court




   ISSUED AS MANDATE: 06/02/2022
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                                                   [DO NOT PUBLISH]
                                       In the
                    United States Court of Appeals
                            For the Eleventh Circuit

                              ____________________

                                    No. 21-11083
                              ____________________

           UNITED STATES OF AMERICA,
                                                         Plaintiff-Appellee,
           versus
           ALEX NAIN SAAB MORAN,


                                                      Defendant-Appellant.


                              ____________________

                     Appeal from the United States District Court
                         for the Southern District of Florida
                       D.C. Docket No. 1:19-cr-20450-RNS-1
                              ____________________
Case 1:19-cr-20450-RNS Document 102 Entered on FLSD Docket 06/02/2022 Page 5 of 11
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           2                       Opinion of the Court                 21-11083

           Before JORDAN, LUCK, and LAGOA, Circuit Judges.
           PER CURIAM:
                  Alex Nain Saab Moran appeals the district court’s order
           denying his motion to vacate an order conferring fugitive status
           and for leave to file a special appearance. As relevant to this appeal,
           Saab Moran sought to vacate his fugitive status, and to file a special
           appearance, to argue that he is immune from prosecution because
           he is a foreign diplomat. The district court denied Saab Moran’s
           motion because of the fugitive disentitlement doctrine and did not
           address whether Saab Moran is immune from prosecution. During
           this appeal, however, Saab Moran was extradited to the United
           States and appeared before the district court.
                  Because Saab Moran is no longer a fugitive, the issue of fu-
           gitive disentitlement is moot. Saab Moran contends that this Court
           should still determine whether he is immune from prosecution.
           After careful review, and with the benefit of oral argument, we
           conclude that the district court should decide, in the first instance,
           whether Saab Moran is a foreign diplomat and immune from pros-
           ecution.
               I.     FACTUAL AND PROCEDURAL BACKGROUND
                 On July 25, 2019, Saab Moran was charged with one count
           of conspiracy to commit money laundering and seven counts of
           laundering monetary instruments. Saab Moran did not appear be-
           fore the district court in response to these criminal charges.
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           21-11083               Opinion of the Court                         3

           Therefore, in August 2019, the district court entered an order
           “transfer[ring]” Saab Moran “to fugitive status.”
                  On June 12, 2020, Saab Moran was arrested in Cape Verde
           under an international arrest warrant. Saab Moran was travelling
           from Venezuela to Iran. But his flight landed in Cape Verde to re-
           fuel. According to Saab Moran, he was travelling to Iran in his ca-
           pacity as a special envoy to the Government of Venezuela.
                  On June 21, 2020, the U.S. government submitted an extra-
           dition request. A court in Cape Verde approved the government’s
           request, but Saab Moran appealed that order and opposed extradi-
           tion.
                  Saab Moran also moved to vacate the district court’s order
           conferring fugitive status. In that motion, Saab Moran sought
           leave to make a special appearance to challenge the indictment.
           Among other arguments, Saab Moran sought to contest the indict-
           ment asserting that, as a special envoy to the Government of Ven-
           ezuelan, he is immune from prosecution in the United States.
           Saab Moran filed various exhibits in support of his argument, and
           he also attached his proposed motion to dismiss as an exhibit.
                  The district court denied Saab Moran’s motion. In so doing,
           the district court found that the fugitive disentitlement doctrine ap-
           plied and that the doctrine prevented Saab Moran from challenging
           his fugitive status and the indictment. Because the district court
           determined that Saab Moran was “precluded from attacking” the
           indictment, and denied his motion for a special appearance, the
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           4                           Opinion of the Court                        21-11083

           district court did not address the merits of Saab Moran’s argument
           that he was immune from prosecution.
                   Saab Moran appealed the district court’s order. While his
           appeal was pending, Saab Moran was extradited to the United
           States. Saab Moran has since appeared before the district court,
           and he has conceded that “the fugitive disentitlement issue in this
           case is moot.”
                                       II.      DISCUSSION
                  The district court denied Saab Moran’s motion to vacate his
           fugitive status and to specially appear due to the fugitive disentitle-
           ment doctrine, which “permits a district court to ‘sanction or enter
           judgment against parties on the basis of their fugitive status.’”1
           United States v. Shalhoub, 855 F.3d 1255, 1259 (11th Cir. 2017)
           (quoting Magluta v. Samples, 162 F.3d 662, 664 (11th Cir. 1998)).
           But Saab Moran is no longer a fugitive. While his appeal was


           1 We have jurisdiction to review the district court’s order because the district
           court declined to rule on the issue of diplomatic immunity. See Collins v. Sch.
           Bd. of Dade Cty., Fla., 981 F.2d 1203, 1205 (11th Cir. 1993) (holding that the
           Court had jurisdiction because “[t]he district court’s order declining to rule on
           the qualified immunity issue pending trial effectively denies defendants the
           right not to stand trial”); Bouchard Transp. Co. v. Fla. Dep’t of Env’t Prot., 91
           F.3d 1445, 1447–48 (11th Cir. 1996) (“Even though the district court deferred
           a ruling on Eleventh Amendment immunity, we have jurisdiction to review
           the court’s order . . . Like a public official’s qualified immunity, a state’s Elev-
           enth Amendment immunity is ‘an entitlement not to stand trial or face the
           other burdens of litigation’” (quoting Mitchell v. Forsyth, 472 U.S. 511, 526
           (1985))).
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           21-11083                Opinion of the Court                         5

           pending, Saab Moran was extradited to the United States, and he
           has appeared before the district court.
                  As a result, Saab Moran has conceded that “[t]he fugitive dis-
           entitlement doctrine is no longer implicated in this appeal.” Be-
           cause we agree with the parties that “the fugitive-disentitlement
           issue in this case is moot,” we must dismiss that issue and vacate
           the district court’s order addressing it. De La Teja v. United States,
           321 F.3d 1357, 1364 (11th Cir. 2003) (“[W]hen an issue in a case
           becomes moot on appeal, the court not only must dismiss as to the
           mooted issue, but also vacate the portion of the district court's or-
           der that addresses it.”).
                  Here, the district court denied Saab Moran’s motion solely
           on fugitive disentitlement grounds, and therefore, the district court
           did not address whether Saab Moran is a foreign diplomat and im-
           mune from prosecution. Saab Moran argues, however, that this
           Court should still decide that issue in the first instance. We decline
           the invitation as we are “a court of review, not a court of first
           view.” Callahan v. United States Dep’t of Health & Hum. Servs.
           through Alex Azar II, 939 F.3d 1251, 1265–66 (11th Cir. 2019). And
           “[t]he determination of whether a person is a foreign diplomatic
           officer ‘is a mixed question of fact and law.’” Ali v. Dist. Dir., Mia.
           Dist., U.S. Citizenship & Immigr. Servs., 743 F. App’x 354, 358
           (11th Cir. 2018) (quoting United States v. Al-Hamdi, 356 F.3d 564,
           569 (4th Cir. 2004)).
                 Here the parties did not have the opportunity to fully de-
           velop the record, and the district court did not have the
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           6                        Opinion of the Court                    21-11083

           opportunity to weigh the evidence, concerning Saab Moran’s claim
           that he is immune from prosecution because he is a foreign diplo-
           mat. We are therefore “poorly situated to decide [this mixed ques-
           tion of fact and law] in the first instance.” Garrett v. Hig-
           genbotham, 800 F.2d 1537, 1539 (11th Cir. 1986); see also Jones v.
           Governor of Fla., 950 F.3d 795, 807 n.8 (11th Cir. 2020) (“[S]ince
           consideration of the merits of the claim is at a minimum
           a mixed question of law and fact, turning in part on undevel-
           oped facts . . . it would be inappropriate for us to rule on it in the
           first instance.”). Accordingly, we remand the case to the district
           court to consider in the first instance whether Saab Moran is a for-
           eign diplomat and immune from prosecution.
                                  III.       CONCLUSION

                 For all these reasons, we vacate the district court’s order as
           moot and remand the case to the district court. 2
                  VACATED AND REMANDED.




           2As a result of this conclusion, we deny the government’s motion to dismiss
           as moot.
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                              UNITED STATES COURT OF APPEALS
                                 FOR THE ELEVENTH CIRCUIT
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                                               56 Forsyth Street, N.W.
                                               Atlanta, Georgia 30303

   David J. Smith                                                                       For rules and forms visit
   Clerk of Court                                                                       www.ca11.uscourts.gov


                                              May 02, 2022

    MEMORANDUM TO COUNSEL OR PARTIES

    Appeal Number: 21-11083-JJ
    Case Style: USA v. Alex Saab Moran
    District Court Docket No: 1:19-cr-20450-RNS-1

    Electronic Filing
    All counsel must file documents electronically using the Electronic Case Files ("ECF") system,
    unless exempted for good cause. Although not required, non-incarcerated pro se parties are
    permitted to use the ECF system by registering for an account at www.pacer.gov. Information
    and training materials related to electronic filing are available on the Court's website. Enclosed
    is a copy of the court's decision filed today in this appeal. Judgment has this day been entered
    pursuant to FRAP 36. The court's mandate will issue at a later date in accordance with FRAP
    41(b).

    The time for filing a petition for rehearing is governed by 11th Cir. R. 40-3, and the time for
    filing a petition for rehearing en banc is governed by 11th Cir. R. 35-2. Except as otherwise
    provided by FRAP 25(a) for inmate filings, a petition for rehearing or for rehearing en banc is
    timely only if received in the clerk's office within the time specified in the rules. Costs are
    governed by FRAP 39 and 11th Cir.R. 39-1. The timing, format, and content of a motion for
    attorney's fees and an objection thereto is governed by 11th Cir. R. 39-2 and 39-3.

    Please note that a petition for rehearing en banc must include in the Certificate of Interested
    Persons a complete list of all persons and entities listed on all certificates previously filed by
    any party in the appeal. See 11th Cir. R. 26.1-1. In addition, a copy of the opinion sought to be
    reheard must be included in any petition for rehearing or petition for rehearing en banc. See
    11th Cir. R. 35-5(k) and 40-1 .

    Counsel appointed under the Criminal Justice Act (CJA) must submit a voucher claiming
    compensation for time spent on the appeal no later than 60 days after either issuance of mandate
    or filing with the U.S. Supreme Court of a petition for writ of certiorari (whichever is later) via
    the eVoucher system. Please contact the CJA Team at (404) 335-6167 or
    cja_evoucher@ca11.uscourts.gov for questions regarding CJA vouchers or the eVoucher
    system.
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    For questions concerning the issuance of the decision of this court, please call the number
    referenced in the signature block below. For all other questions, please call Tiffany A. Tucker,
    JJ at (404)335-6193.

    Sincerely,

    DAVID J. SMITH, Clerk of Court

    Reply to: Jeff R. Patch
    Phone #: 404-335-6151

                                                                 OPIN-1 Ntc of Issuance of Opinion
